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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                                   Chapter 11
WOODBRIDGE GROUP OF COMPANIES, LLC,
et al.,1                                                           Case No. 17-12560 (JKS)
                   Remaining Debtors.
                                                                   (Jointly Administered)

MICHAEL GOLDBERG, as Liquidating Trustee of                        Adv. Proc. 19-50998 (JKS)
the Woodbridge Liquidation Trust, successor in
interest to the estates of WOODBRIDGE GROUP
OF COMPANIES, LLC, et al.,

                                   Plaintiff,
         v.

JOHN J. McNAMARA,


                                   Defendant.


    ORDER APPROVING STIPULATION OF SETTLEMENT AND FOR ENTRY OF
               JUDGMENT AGAINST JOHN J. MCNAMARA


         The Court having considered the Stipulation of Settlement and for Entry of Judgment

Against John J. McNamara (the “Stipulation”) and the Settlement Agreement (the “Settlement

Agreement”) attached thereto2, it is hereby ORDERED that:

                 1.          The Stipulation and the Settlement Agreement are approved in their

entirety.


1
  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
91423.
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Stipulation
or the Settlement Agreement, as applicable.




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                 2.          The above-captioned adversary proceeding (the “Adversary Proceeding”

shall be administratively closed. Notwithstanding such administrative closure, the Adversary

Proceeding shall be reopened upon the filing of a Certification of Counsel by counsel for the

Trustee or his successor (without the need for joinder by counsel for Defendant) stating either:

                      a. The full Reduced Payment Amount has been fully paid in strict accordance

                             with the terms of the Stipulation and Settlement Agreement, in which case

                             the Trustee or his successor shall file a notice of dismissal with prejudice;

                             or

                      b. The full Reduced Payment Amount has not been paid in strict accordance

                             with the terms of the Stipulation and Settlement Agreement, in which case

                             the Stipulated Judgment will be entered in the full amount of the Stipulated

                             Judgment Entitlement.


                 3.          This Court retains exclusive jurisdiction to interpret and enforce this

Order, the Stipulation, and the Settlement Agreement.




                                                                  J. KATE STICKLES
       Dated: August 16th, 2023
                                                                  UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware



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